Case 2:20-cv-00983-TSZ Document 75-9 Filed 02/07/22 Page 1 of 2




   EXHIBIT 9
Case 2:20-cv-00983-TSZ Document 75-9 Filed 02/07/22 Page 2 of 2




            Capitol Cider
'\H i 11.
  11 :t     June 23, 2020 · 0

#capitolcider fans~ ! .... 'let's pop some bottles BECAUSE we're opening
our doors tom orrow WEDNESDAY JUNE 24th ·· · ·•                · We have
missed you .& can not wa it to serve our beloved commun ity.
Sign ificant measures have be,en t aken to protect you r health and
safety (check out ou r updated w ebsit e and follow along here and on
l nst ag ram for deet s as well.) #beourguest #everybodywelcome
#ciderhouse
